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   AO 440 (Rev. 06/12) Summons in a Civil Action


                                                 UNITED STATES DISTRICT COURT
                                                                                          for the
                                                                   Western District
                                                                  __________        of Pennsylvania
                                                                              District of __________

                                                                                              )
                                                                                              )
                                                                                              )
  CHRISTINE BIROS                                                                             )
                                     Plaintiff(s)                                             )
                                                                                              )
                                          v.                                                           Civil Action No. 2:23-cv-297
                                                                                              )
                                                                                              )
                                                                                              )
  SHANNI SNYDER, GEORGE SNYDER, KASH SNYDER,                                                  )
  and J. ALLEN ROTH                                                                           )
                     Defendant(s)                                                             )

                                                                  SUMMONS IN A CIVIL ACTION

   To: (Defendant’s name and address)                    Shanni Snyder
                                                         12709 Lincoln Way
                                                         North Huntingdon, PA 15642
                                                                  -or-
                                                         Shanni Snyder
                                                         395 Luann Drive
                                                         McKees Rocks, PA 15136

               A lawsuit has been filed against you.

            Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
   are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
   P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
   the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
   whose name and address are:                Kirk B. Burkley, Esq.
                                              Stuart C. Gaul, Jr., Esq.
                                              BERNSTEIN-BURKLEY, P.C.
                                              601 Grant Street, 9th Floor
                                              Pittsburgh, PA 15219

          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
   You also must file your answer or motion with the court.


                                                                                                           &/(5.2)&2857
                                                                                                            CLERK OF COURT


 Date:
02/24/2023                                                                                                  JacquelynSignature
                                                                                                                        Akerly of Clerk or Deputy Clerk
'DWH6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
